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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

       EDWARD BUTOWSKY,                                     §
                                                            §
              Plaintiff,                                    §
                                                            §
       v.                                                   §      Civil Action No.: 4:19-cv-00180
                                                            §
       MICHAEL GOTTLIEB, et al.,                            §
                                                            §
              Defendants.
                                                ORDER

            Pending before the Court is Plaintiff Edward Butowsky’s (“Plaintiff”) Motion for an

     Extension of Time (the “Motion”) (Dkt. 70), in which Plaintiff requests an extension of his

     deadline to file an amended response to the Motion to Dismiss filed by Defendants Michael

     Gottlieb, Meryl Governsky, and Boies Schiller Flexner LLP (Dkt. 41). Plaintiff represents the

     Motion is opposed. See Dkt. 70.
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            IT IS THEREFORE ORDERED Defendants Michael Gottlieb, Meryl Governsky, and

     Boies Schiller Flexner LLP file a response to the Motion (Dkt. 70) by July 22, 2019.

            IT IS SO ORDERED.
            SIGNED this 18th day of July, 2019.

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                                                 ____________________________________
                                                 KIMBERLY C. PRIEST JOHNSON
                                                 UNITED STATES MAGISTRATE JUDGE
